         Case 1:10-cv-10478-DPW Document 1-1 Filed 03/22/10 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                                    for the
                        DISTRICT OF MASSACHUSETTS
__________________________________________
DAVID HILTZ,                                )
ARTHUR JOST,                                )
MICHAEL MACHADO, and                        )
TIMOTHY PALMER,                             )
      Plaintiffs                            )
                                            ) Civil Action No.
V.                                          )
                                            )
THE HAWK EYE FISHING CORP.,                 )
      Defendant                             )
__________________________________________)

                                  SEAMAN'S DECLARATION

       I, DAVID J. BERG, attorney for the Plaintiff in the above-entitled action, do on oath
depose and say as follows:

1.     The Plaintiffs in the above entitled action were seamen and claim the benefits of the
United States Code, Title 28, Section 1916, which provides that:

         "In all courts of the United States, seamen may institute and prosecute suits and appeals
in their own names and for their own benefit for wages or salvage or the enforcement of laws
enacted for their health or safety without prepaying fees or costs or furnishing security therefor."

        Pursuant to 28 USC 1746, I declare under penalty of perjury that the foregoing is true and
correct.


                                              Respectfully submitted for
                                              the Plaintiffs, by their attorney,


                                              /s/ David J. Berg_____
                                              David J. Berg, Esq.
                                              Latti & Anderson LLP
                                              30-31 Union Wharf
                                              Boston, MA 02109
                                              617-523-1000

Dated: January 4, 2010
